                           Case 1:09-cv-00019 Document 41 Filed 10/29/09 Page 1 of 1




                                                                                           F I LEO
                                                                                               Clerk
                                                                                           DIIU1Ct CoUll

                 2                                                                                     2009
                 3                                                                Forlhe Northam Mariana Islands
                                                                                   8Y.~~(DIpc~ltI~a.)::"""':"':'--
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                 5                        IN THE UN ITED STATES DISTRICT COURT
                 6
                                          FOR THE NORTHEMT MARIANA ISLANDS
                 7

                 8
                     RANDALL T. FENNELL,                     )      Civil Action No. 09-0019
                 9                                           )
                10
                                           Plaintiff         )
                                                             )      ORDE R STAYIN G PROCEEDINGS
                11                   v.                      )
                12
                                                             )
                     MATTHEWT. GREGORY, eta!,                )
                13                                           )
                14
                                           Defendants        )
                     ------------------------)
                15
                           Because defendants have taken an interlocutory appeal, and in the interests of
                16

                17   conserving the resources of the court and the parties,
                18
                           IT IS ORDERED that this matter be and hereby is stayed, in all respects and
                19
                     as to all parties and prospective parties, until the U.S. Court of Appeals for the Ninth
                20

                21   Circuit has ruled on the appeal.
                22
                           DATED this 29th day of October, 2009 .
                23

                24

                25
                                                                        ALEX R. MUNSON
                26
                                                                            Judge
AO 72
(Rev . 08/82)
